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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


                                                  )
DAVE WINGATE,                                     )
On Behalf of Himself                              )
and All other similarly situated                  )
                                                  )
Plaintiffs,                                       )      Case No. 5:19-cv-4074-HLT
                                                  )
v.                                                )
                                                  )
BARKMAN HONEY LLC,                                )
a Domestic Corporation, TRUE SOURCE               )
HONEY, LLC, a Foreign Corporation                 )
                                                  )
Defendants.                                       )
                                                  )


                                          ORDER

        This matter is before the court on defendant True Source Honey’s unopposed

motion to stay discovery pending resolution of the motions to dismiss. True Source Honey

seeks a stay of discovery and other activity in the case until such time as the court rules on

the motions to dismiss (ECF No. 13 and ECF No. 24) filed by the defendants in this action.

The other parties do not oppose True Source Honey’s request for a stay of discovery. After

review of the motion and considering the arguments made therein, the court grants the

motion.

        IT IS THEREFORE ORDERED that all further action in the case in the nature of

disclosures and the issuance of any discovery by any party, and the requirements of the

initial order entered in this matter on October 22, 2019 (ECF No. 18), are stayed pending



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resolution of the motions to dismiss. The case will not proceed with discovery until after

the dispositive motions are resolved. Following decision on the pending dispositive

motions, the parties shall contact the court within five calendar days to set a telephone

conference to address submission of the joint conference report, scheduling, and new dates

for initial disclosures and case planning, if necessary at that time.

       IT IS SO ORDERED.

       Dated November 27, 2019, at Kansas City, Kansas.

                                           s/ James P. O’Hara
                                           James P. O’Hara
                                           U.S. Magistrate Judge




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